              Case 9:06-cv-00075-JVS Document 46 Filed 02/08/07 Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF MONTANA

                                      MISSOULA DIVISION
                                      ____________________


JERROLD G. COOLEY, JOLEE COOLEY,                       )
MICHAEL J. COOLEY, and KAILEY                          )
COOLEY,                                                )
                                                       )   Cause No. 06-75-M-JVS
          Plaintiffs,                                  )
                                                       )   Hon. James V. Selna
     v.                                                )
                                                       )   ORDER
CITY OF MISSOULA, CITY OF MISSOULA                     )
POLICE DEPARTMENT, MISSOULA                            )
COUNTY, MISSOULA COUNTY SHERIFF'S                      )
DEPARTMENT, CHIEF WICKMAN, OFFICER                     )
McCARTHY, SERGEANT RICHARDSON,                         )
SHERIFF McMEEKIN, DEPUTY MEEDER,                       )
DEPUTY WHITE, DEPUTY STINEFORD, and                    )
DOES A-Z,                                              )
                                                       )
          Defendants.                                  )
                                                       )


           Pursuant to Stipulation among the parties hereto and good cause appearing,

IT IS HEREBY ORDERED that Defendant Craig Serba is dismissed WITH PREJUDICE. All

parties will bear their own costs and attorney fees.

           DATED this 8th day of February, 2007.



                                                    ______________________________________
                                                              Hon. James V. Selna
                                                           DISTRICT COURT JUDGE
1.         ORDER

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         Case 9:06-cv-00075-JVS Document 46 Filed 02/08/07 Page 2 of 2




2.     ORDER

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